
In re Glockner, Wilfred J.; Poole, Weldon; Galatas, Elsie; Bradley, John; Mack-ie, Harry Jr.; Carrol, Clara Estate of; Pierce, L.W.; St. Tammany Homestead; Salter, R.N.; Jenkins, Charlie Mrs.; Badon, Robert Estate of; Montgomery, Doris; Fitzmorris, Jeron; Burns, Philip; David, Gloria; Pfeffer, Philip; Haik, Michelle; Le Blanc, Charles; H.J. Smith &amp; Sons Inc.; Smith, H.J. &amp; Sons Inc.; Carruth, Sidney Nicolle; Marsolan Feed &amp; Seed Store Inc; Carruth, Julian; Smith, Archie R. Jr.; Blossman, R.S. Jr.; Burns, Philip M. Sr.; Chelette, David d/b/a; Hebert’s Cleaners; applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, No. CA/85/0070; Parish of St. Tammany, 22nd Judicial District Court, Div. “E”, No. 63-672.
Prior report: La.App., 486 So.2d 837.
Denied.
DENNIS, J., would grant the writ.
